   VICTIM IMPACT STATEMENT OF ELIZABETH STEIN TO BE READ AT THE
                 SENTENCING OF GHISLAINE MAXWELL

        I came to New York in 1991 at the age of 18 to attend FIT and immediately began to excel

academically. While at FIT, I took advantage of different volunteer opportunities and internships in

the fashion industry to provide a foundation for my career. In my sophomore year, I accepted a

Christmastime internship at Henri Bendel, New York. I performed well and was asked to stay on as

a part-time employee. I worked at Henri Bendel until graduation.


        In the fall semester of my senior year at FIT Ghislaine Maxwell came into the store, where

she was a frequent customer. Her usual salesperson wasn’t there so I helped her. Ghislaine was

electrifying and we hit it off immediately. In this first meeting we spoke of our mutual love of fashion,

of difficult fathers and formal upbringings, of boyfriends and of how we both saw New York as a

chance to start over. She told me that her boss (who I later came to understand was Jeffrey Epstein)

was close friends with Les Wexner, the CEO and Founder of The Limited, which owned Henri Bendel

at the time. When she completed her purchases, I offered to deliver them to her, so she didn’t have

to carry them around all day. This was a courtesy I frequently extended to my high-end clients. Later

that day, I called her office for delivery instructions and was told to bring them to the Pierre Hotel

close by the store. When I arrived, the hotel concierge told me Ms. Maxwell was in the bar and wanted

me to meet someone. It was Jeffrey Epstein. That night in the hotel was the first of many times they

sexually assaulted me.


        Afterwards, I tried to pretend everything was normal. I returned to my classes at FIT and

continued work at Henri Bendel, but I started to crack. I failed a course that was necessary for my

degree and had to retake it to get my diploma.
       Shortly after my first meeting with Epstein and Maxwell, I was offered a full-time position at

Henri Bendel. It was a newly created position at the store, and it would have required me to leave FIT

a semester short of completing my degree. I had aspirations of going to law school and knew I could

not do so without my undergraduate degree, so I declined it.


       When Ghislaine found out she flew into a rage. I didn’t understand why until she told me

that she and Epstein were responsible for giving me that opportunity and that in turning it down I

was being ungrateful. I now know this was their modus operandi – give a gift or favor and then

demand sex in return. Nevertheless, I rebuffed the guilt-trip ploy, completed my coursework, and got

my FIT degree from FIT, at which point I left Henri Bendel and took a position at Bloomingdales.


       I wanted to leave Epstein and Maxwell and the abuse they perpetrated against me behind as I

started my professional life. I never wanted to or expected to see them again.


       One day in the fall of 1995 Maxwell showed up at Bloomingdales, looking for me. When I

asked her how she knew where I was, she said she asked my colleagues at Henri Bendel. She

immediately began befriending me once again, asking me to go out socially. I tried to resist but

eventually she wore me down and I began spending time with them again. They made me feel like

they were friends, contemporaries.


       In one instance, they took me to Florida, insisted that I stay longer than planned which caused

me to miss work and led to my being fired. Seizing on this new vulnerability, they began trafficking

me to their friends. By that time, I was trapped.


        I was assaulted, raped and trafficked countless times in New York and Florida during a three-

year period. At one point I became pregnant (by whom I am unsure) and aborted the baby. Things

happened that were so traumatizing that to this day I’m unable to speak about them; I don’t even have
the vocabulary to describe them. In the most literal sense of the word, Epstein and Maxwell terrified

me. They told me that if I told anyone, nobody would believe me and if they did, they would kill me

and the people closest to me. I believed them. I was once bright, fun, outgoing and kind. I loved life

and people genuinely enjoyed being around me. After meeting Jeffrey Epstein and Ghislaine Maxwell,

it felt like someone shut off the lights to my soul.


        My secrets became too much for me to handle, and I began doing whatever I could to try to

get away from Maxwell and Epstein. I changed jobs, apartments, cities and even states to try to get

away. Everywhere I went, they found me. In 1997, I moved to Philadelphia with the hopes of finally

starting law school. They found me again and it was more than I could take. I was hospitalized with a

nervous breakdown. It would be the first of over two dozen hospitalizations in the decades following

my involvement with Epstein and Maxwell.


        In addition to my escalating mental health problems, I began to experience physical symptoms

that doctors could never quite put their finger on. I received dozens of diagnoses but nothing ever

quite fit. I could no longer even pretend to be able to hold down a job or take care of myself in any

meaningful way, and I had to move home once again. Emotionally I cracked, and nobody thought I

would ever get better. But I did not give up.


        I was determined to do whatever I had to, to prove everyone wrong. I wasn't crazy, I was hurt.

For over a decade and a half I went to all kinds of medical specialists and was in and out of medical

and psychiatric hospitals having tests and procedures, even submitting to clinical trials and an

experimental implantable medical device. Nothing helped.


        In 2007, I moved back to Philadelphia to try once again to sort out my life. I began working

as a paralegal again and started preparing to take the LSAT’s. I found a psychiatrist, physician and
therapist who were willing to help me get to the bottom of things. I had tried almost every

psychological intervention possible in my efforts to get better, but my new psychiatrist suggested

something I had not tried before, Dialectical Behavioral Therapy.


        Just as I began to repair the emotional damage, I was diagnosed with Complex Regional Pain

Syndrome and was primarily bedbound for over a year. CRPS is a rare neuroinflammatory disorder

characterized by intense, relentless physical pain. Both CRPS and PTSD are psychophysical states in

which the sympathetic nervous system is engaged and remains inappropriately hyper-aroused. There

is no cure. The mind and body are interconnected. Despite all of this, I immersed myself in DBT and

repaired my emotional health. I began physical therapy and regained my physical mobility. I started

to rebuild my life.


        The arrests of Epstein and Maxwell in 2019 and 2020 respectively helped me immensely. For

the first time, I was finally able to disclose their abuse to close friends and medical providers. Twenty-

five years after meeting them, my experience was validated. I could finally see the possibility

of closure.


        This past November and December, I commuted almost every day from my home in

Philadelphia to attend Ghislaine Maxwell’s trial in Manhattan. For weeks I sat in the courtroom

anonymously, only revealing my identity the day before the verdict. I had to see justice for myself.


        At the age of 48, I feel as if I’m just starting my life. All those things I assumed I would have

in life, the things that my siblings and friends have achieved: a career, success, a partner, family, a

home, a legacy to be proud of leaving behind were jeopardized for more than two and a half decades.

The only pronounced difference between my life experience and theirs is that one day, when I was

doing my job I met Ghislaine Maxwell who fed me to Jeffrey Epstein. In more ways than one, they
almost killed me. But I wasn’t going to let them. Overcoming what happened to me became my

decades-long, full-time career. In that, I have been successful.


        For the past 25 years, Ghislaine Maxwell has been free to live a life of wealth and privilege

that is almost incomprehensible. Meanwhile I have had virtually none of the life experiences I might

have had, had we never met. For over two and a half decades, I felt like I was in prison. She had her

life. It’s time to have mine. She needs to be in prison so her victims can all finally be free.
